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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

BILLIE MONROE                                       §
                                                    §
v.                                                  §             Case No. 2:11-CV-329-JRG
                                                    §
WALMART STORES TEXAS LLC                            §


                                          December 14, 2012
                                        MEDIATION MINUTES

OPEN: 9:00 a.m..                                                               ADJOURNED 2:12 p.m.


ATTORNEY FOR PLAINTIFF:                                 Mark McMahon

ATTORNEY FOR DEFENDANT:                                 Brandon Cogburn

COURTROOM DEPUTY:                                       Jan Lockhart

The case settled at mediation. The terms of the settlement are confidential.
